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UNITED STATES DISTRICT COURT ~ - -
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W.FJ. C)¥~` Tf‘\l, I‘\¢”.E`:’FJ?PH|S
Plaintiff

CASE NO.: 2:05-cv-02188-JPM-trnp
v.

BRYAN CONSTRUCTION COMPANY, INC.,
PATTON & TAYLOR CONSTRUCTION CO.,
TAYLOR GARDNER ARCHITECTS, INC.,
LOONEY-RlCKS-KISS ARCHITECT, INC.,
RICHARD A BARRON, THE REAVES FIRM,
INC., SMITH ENGINEERING FIRM, INC.,
DAVID W. MILEM, BELZ / SOUTH BLUFFS,
INC., HT DEVCO, INC. and STEVE BRYAN,

Defendants.
/

 

ORDER GRANTlNG
MO'I`ION FOR SPECIAL ADMISSION
OF ATTORNEY JOEL E. ROBERTS

THIS COURT has considered the Motion of Joel E. Roberts, a member of the State of
Bar of Florida, for Special admission to represent Defendant, Looney chks Kiss Architects, Inc.,
in the above-styled matter. Mr. Roberts has met the requirements of L.R. 83.1(b) for special

admission of attorneys. The Motion for Special Admission is hereby GRANTED.
'/

so oRDEREDrhiS 'LQ dayof aj fmc ,2005.

»\c>m(i@@

GE JON PHIPPS McCALLA

/r(ju§"lDTED STATES DISTRICT IUDGE
Proposcd Ordcr prepared by: ii
JOEL E. ROBERTS

Florida Bar No. 0258910

Gray Robinson, P.A.

Post Officc Box 3068

Or[ando, FL 32802-3068

(407) 843~8880 Telephone

(407) 244-5690 Facsimile
Attomeys for Defendant,

Looney Ricks-Kiss Architect, Inc.

   

 

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This notice confirms a copy of the document docketed as number 17 in
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

